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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              MCALLEN DIVISION

TIERRA CALIENTE MUSIC                         §
GROUP, S.A. DE C.V. D/B/A                     §     CIVIL ACTION NO.: 7:18-CV-252
REMEX MUSIC AND MIDAS                         §
MUSICAL, INC.                                 §
     Plaintiffs,                              §
                                              §
v.                                            §
                                              §     JURY TRIAL DEMANDED
SER-CA DISCOS, INC.                           §
     Defendant.                               §


     DEFENDANT’S THIRD AMENDED ANSWER AND COUNTERCLAIM


      Defendant SER-CA DISCOS, INC. (“SER-CA,” “Defendant,” or “Counter-

Plaintiff”) files its Third Amended Answer and Counterclaim against Plaintiffs TIERRA

CALIENTE MUSIC GROUP, S.A. DE C.V. d/b/a Remex Music (“Tierra Caliente”),

Midas Musical, Inc. (“Midas”) (collectively “Plaintiffs,” or “Counter-Defendants”), and

Third-Party Defendants JOHN DOES 1 – 10 (“Third-Party Defendants”), and would show

unto the Court as follows:

           AFFIRMATIVE DEFENSES TO PLAINTIFFS’ COMPLAINT

                        Facts Common to Affirmative Defenses

      1.     Plaintiffs are infringers who have not alleged or shown copyright ownership

and can never do so. Although the Plaintiffs’ actions and claims are actually based on their

claim of copyright ownership, they have not alleged, much less shown, valid copyright


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ownership or copyright registration as required by 17 U.S.C. §§408(b), 411(a) and 1203.

Without pleading or proof of a valid registration, the Plaintiffs’ copyright claims should be

dismissed sua sponte.

      2.     Plaintiffs lack standing because they own no valid legal rights in the 2016

Songs and are infringers. The Plaintiffs’ purported claim to copyright ownership

admittedly arises from the purported contract with Eliseo Robles of La Leyenda, who did

not have the right to convey any rights.

      3.     On or about February 15, 2012, La Leyenda entered into a written Exclusivity

and Assignment of Rights Agreement (the “Recording Agreement”), with Discos y Cintas

SERCA, S.A. de C.V. (“SERCA MEXICO”), a Mexican record company. The Plaintiffs

have admitted that the Recording Agreement between SERCA MEXICO and La Leyenda

has never been invalidated by any Mexican court, despite the Plaintiffs’ and La Leyenda’s

many efforts to do so in lawsuits and trumped-up criminal charges. The Plaintiffs and their

owners and agents have funded, participated in, and provided the legal representation for

La Leyenda in the litigation in Mexico.

      4.     This litigation in Mexico resulted in a Final Judgment entered on or about

September 4, 2017, in favor of SERCA MEXICO (the “Mexican Final Judgment”), which

La Leyenda appealed via an Amparo proceeding and lost. The Plaintiffs and La Leyenda

made a last, futile attempt to invalidate the Recording Agreement by filing and prosecuting

an Amparo in the Third Collegiate Court of the Fourth Circuit of Monterrey, Nuevo Leon,




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Mexico, which rejected their arguments. In fact, according to the Final Judgment rendered

on June 15, 2018, by said Court in the Judgment on Direct Amparo 740/2017/3 (the

“Mexican Amparo Judgment”), the Recording Agreement between SERCA MEXICO and

La Leyenda was in full force and effect not only in 2015 when the Plaintiffs, their owners,

and La Leyenda entered into their contracts and so-called Exclusivity Agreement, but also

through the date of the recordings made for Plaintiffs by La Leyenda. A true and correct

copy of the English translation of the Mexican Amparo Judgment is attached hereto as

Exhibit A and a true and correct copy of the actual Mexican Amparo Judgment is labeled

B; both incorporated herein by reference.

First Defense

      5.     The Plaintiffs have no standing to bring this lawsuit. They do not have a valid

contract with or copyright assignment from La Leyenda, do not own any rights to La

Leyenda’s sound recordings, and are copyright infringers.

Second Defense

      6.     The Plaintiffs are collaterally estopped from asserting copyright infringement

claims.

Third Defense

      7.     The Plaintiffs are not entitled to relief because they are collaterally estopped

from seeking relief in Court.




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Fourth Defense

      8.     Plaintiffs’ Complaint fails to state a claim for which relief may be granted.

Alternatively, the demands and claims for relief are excessive.

Fifth Defense

      9.     Plaintiffs have waived their claims.

Sixth Defense

      10.    Defendant’s actions were privileged and undertaken in good faith.

Seventh Defense

      11.    Defendant was prevented by the Plaintiffs’ wrongful actions from strict

compliance with the requirements of the DMCA.

      12.    Defendant reserves the right to add additional affirmative defenses or third-

party claims against parties yet to be joined in this action, as investigation and discovery

warrants.


            SPECIFIC RESPONSES TO THE PLAINTIFFS’ COMPLAINT

      13.    Subject to the foregoing defenses, Defendant further answers the specific

numbered allegations as follows:

      (a)    Defendant cannot admit or deny the allegations in ¶ 1 and ¶ 2;

      (b)    With respect to ¶ 3, Defendant admits that it is a Texas corporation doing

             business in Hidalgo County, Texas and that it has appeared in this lawsuit;




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        (c)   Paragraph 4 contains legal conclusions that require no answer, except that the

              Defendant admits the jurisdictional allegations therein;

        (d)   Defendant admits that Eliseo Robles, Jr. is a member of the Mexican regional

              music band performing under the name La Leyenda. If necessary, the

              remainder of ¶ 5 is denied;

        (e)   Defendant cannot admit or deny the allegations in ¶ 6 - ¶ 9;

        (f)   Defendant admits that it is the current legal representative of La Leyenda in

              the United States and denies that it is solely the “former” representative. The

              remainder of ¶ 10 is denied;

        (g)   Paragraph 11 contains legal conclusions that require no answer;

        (h)   Defendant denies the allegations in ¶ 12 - ¶ 15; and

        (i)   Defendant denies that the Plaintiffs are entitled to the relief requested in the

              Prayer.

        14.   Unless specifically admitted, Defendant denies the Plaintiffs’ factual

allegations and legal conclusions, whether express or implied.

                                     JURY DEMAND

        15.   Defendant agrees with the Plaintiffs’ jury demand and also demands trial by

jury.




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                                REQUEST FOR RELIEF

      16.    Defendant prays that the Court dismiss all of Plaintiffs’ claims with prejudice,

enter judgment in favor of Defendant, deny all equitable relief to Plaintiffs, award

Defendant the costs of suit (including attorney’s fees) and all other relief as the Court

deems just and proper.


                         THIRD AMENDED COUNTERCLAIM

      17.    Defendant/Counter-Plaintiff SER-CA DISCOS, INC. (“SER-CA” or

“Counter-Plaintiff”) adopts all of the preceding paragraphs by reference and incorporates

them into each paragraph of the counterclaim. This counterclaim arises out of the

transactions and occurrences which are the basis for Plaintiffs’ claims, involves factual and

legal issues that are largely the same, and substantially the same evidence will support or

refute the claims, whereby it is a compulsory within the meaning of Federal Rule of Civil

Procedure 13(a).

                             JURISDICTION AND VENUE

      18.    The Court has exclusive subject matter jurisdiction as to the Counter-

Defendants’ Lanham Act violations pursuant to the Lanham Act, 15 U.S.C. §1051, et. seq.

and 28 U.S.C. §1338(a), and original jurisdiction over this counterclaim under 28 U.S.C.

§1331 and 17 U.S.C. §512(f), the Copyright Act, 17 U.S.C. §§101, et. seq., for declaratory

relief under the Declaratory Judgment Act, 28 U.S.C. §2201, as well as its ancillary and

supplemental jurisdiction under 28 U.S.C. §1367, and pendent jurisdiction over the state


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causes of action relating to unfair competition and trademark pursuant 28 U.S.C. §1338(b).

      19.    The Court has personal jurisdiction over the parties, and venue in this action

is proper in the United States District Court for the Southern District of Texas, McAllen

Division under 28 U.S.C. §§ 1391(b) and (c) and 28 U.S.C. §1446, because the Counter-

Defendants reside in this District, transact affairs in this District, sued SER-CA in state

court in this District, and a substantial part of the events or omissions giving rise to the

claims occurred in this District.

                                    I.     Introduction

      20.    SER-CA files this civil action against Plaintiff/Counter-Defendants TIERRA

CALIENTE MUSIC GROUP, S.A. DE C.V. d/b/a Remex Music (“Tierra Caliente”) and

Midas Musical, Inc. (“Midas”) (collectively “Counter-Defendants”), and Third-Party

Defendants JOHN DOES 1-10 (“John Does 1-10” or “Third-Party”), invoking the

assistance of the court and jury because the Counter-Defendants, through their owners,

officers and agents and John Does 1-10, chose to ignore fundamental business and legal

ethics and, through unscrupulous business transactions, have calculated and acted to

deprive the Counter-Plaintiff of its legal rights and rightful interests under the Copyright

Act, as well as interfered with and prevented the proper administration of Counter-

Plaintiff’s existing contracts, all in violation of federal and state law. SER-CA seeks to: (i)

temporarily and permanently enjoin acts of statutory trademark infringement under the

Lanham Act, violations of trademark infringement under the laws of the State of Texas, as




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well as their unjust enrichment, interference with its business and contractual relations and

prospective economic advantage, unfair competition and misappropriation; and (ii) recover

damages, profits, treble damages or profits, disgorgement, attorney’s fees, and costs.

                    II.    Background Facts Common to All Counts

      21.    SER-CA is a Texas record label and event promoter. SER-CA has operated

as the exclusive rights holder for the Songs of La Leyenda in the United States, and is the

legal and/or beneficial owner of its copyrights.

      22.    On or about February 15, 2012, La Leyenda entered into a written Exclusivity

and Assignment of Rights Agreement (the “Recording Agreement”), with Discos y Cintas

SERCA, S.A. de C.V. (“SERCA MEXICO”), a Mexican record company. Before that, La

Leyenda had entered into a similar recording agreement with SERCA MEXICO on

September 13, 2007, and similar recording agreements since at least 2003, wherein La

Leyenda agreed, inter alia, to “exclusively assign the totality of the rights of their artistic

performances for their recording in phonograms, video-grams, DVD, live recordings, or

any other technical medium…” (hereinafter the Sound Recording Rights”) so that these

recordings could be commercialized by SERCA MEXICO and its assignees.

      23.    Under the Sound Recording Rights granted in these recording agreements, La

Leyenda also granted to SERCA MEXICO “a permanent, irrevocable, and free license” to

use La Leyenda’s “ARTISTIC NAME, brands, copy rights, reservation of rights, logos,

and any other property right that could be needed or convenient to use the ARTISTIC




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NAME” (hereinafter the “Ancillary Rights”). Of course, the Counter-Defendants were

aware or should have been aware of these contracts at all relevant times.

      24.      As part of the Sound Recording Rights in the Recording Agreement and

previous recording agreements, La Leyenda granted SERCA MEXICO, or whomever it

designated, the rights to, inter alia, exclusively use, record, present, distribute,

commercialize, reproduce, transmit in all media, adapt, compile or modify La Leyenda’s

recordings and SERCA MEXICO designated SER-CA to do so in the United States

(hereinafter the “Related Rights”) and conveyed the Sound Recording Rights. Ancillary

Rights, and Related Rights (jointly referred to as the “Exclusive Rights”). SERCA

MEXICO’s contracts with La Leyenda have been upheld in legal proceedings and final

judgments in Mexico, including the Mexican Final Judgment and the Mexican Amparo

Judgment, which render without merit the Counter-Defendants’ affirmative defenses,

including the defenses of unclean hands and that the contracts are “fraudulent, illegal,

unenforceable, or in violation of public policy.” Accordingly, the Counter-Plaintiff’s

Exclusive Rights are equal to those in the Recording Agreement, including the exclusive

rights to distribute, commercialize and sell La Leyenda’s sound recordings in the United

States.

      25.      Counter-Plaintiff exercises its contract rights and Exclusive Rights in and to

La Leyenda’s sound recordings by facilitating the publishing, streaming, distribution, and

public performance of all songs featuring La Leyenda (the “Songs”). Counter-Plaintiff




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further exercises its Exclusive Rights to use the trademark “LA LEYENDA” (the “Mark”)

as a source identifier for songs featuring the performances of La Leyenda. Counter-Plaintiff

has expended valuable time and resources to administer its Exclusive Rights for the benefit

of La Leyenda in the United States.

      26.    In addition to distributing, promoting, controlling and facilitating the use of

the Songs in the United States, SER-CA retains the exclusive right to use the Mark in

association with the Songs. SER-CA has expended financial resources to promote the

Songs and develop income streams from their sales. In 2008, 2011, 2014 and 2015 SER-

CA entered into distribution agreements with the distributor Select-O-Hits, Inc. (“SOH”)

and its Latin American music imprint Select-O-Hits Latino (“SOH Latino”), which the

Counter-Defendants were aware of. Through SOH and other digital distributors of sound

recordings, SER-CA effectuates these rights and generates physical and digital distribution

income streams for the Songs in the United States. Since its first agreements with SOH and

SOH Latino, SER-CA has continued to execute similar contracts with SOH, SOH Latino,

and, through, SOH other digital distributors.

      27.    As shown in the Plaintiffs’ Complaint, the Counter-Defendants are seeking a

free ride off the back of SER-CA’s success, the Counter-Defendants’ principals, German

(“German”) and Domingo Chavez (“Domingo”) (collectively the “Chavez Brothers”),

entered into a so-called Exclusivity Agreement with La Leyenda’s Eliseo Robles on August

27, 2015. The Chavez Brothers in turn assigned their global rights to Tierra Caliente and




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USA rights to Midas, companies which they own and control. Pursuant to this wrongful

agreement, Midas then falsely represented its ownership of the Songs. SER-CA believes

that the Chavez Brothers and Counter-Defendant Midas were fully cognizant of the on-

going relationship and distribution agreements between SER-CA, SOH, and SOH Latino

and their digital music distributors. Pursuant to these illegal distribution agreements, the

Counter-Defendants are siphoning royalty streams for the Songs which belong to SER-CA,

using Songs owned by SER-CA.

      28.    When SER-CA first became aware of the Counter-Defendants’ wrongful

activities in 2017, SER-CA was a party to at least two valid and subsisting agreements with

SOH and SOH Latino. The first, executed between SOH Latino and SER-CA on or about

July 29, 2014, designated SOH Latino as the exclusive distributor of the Songs in the

United States (the “2014 Distribution Agreement”). The second, executed between SOH

and SER-CA on or about September 9, 2015, designated SOH as the exclusive distributor

of the Songs on the Internet streaming service “YouTube.com,” (“YouTube”) throughout

the world (the “2015 Streaming Agreement”).

      29.    In violation of the Copyright Act and their common law duties, the Counter-

Defendants aided and abetted by their long-time Mexican attorneys, which were also used

as a conduit to mask their actions, conspired with La Leyenda, their Mexican attorneys,

and others to usurp SER-CA’s rights and interests under its agreement with SERCA

Mexico, SOH, and digital distributors an divert the income that SER-CA received from the




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distribution of La Leyenda’s sound recordings. SER-CA is informed and believes and

based thereon alleges that, among other brazen conduct, the Counter-Plaintiffs have

concealed illegal agreements deliberately designed to destroy, circumvent and/or dilute

SER-CA’s interests.

      30.    When SER-CA was informed that copies of the Songs being posted to

streaming services like YouTube, SER-CA was required to begin a game of legal “whack-

a-mole,” thereby attempting to protect its business and contractual interests and prevent the

unauthorized distribution of the Songs by third-parties. However, for every one of the

Songs taken down, a new one was posted.

      31.    On March 29, 2017, a representative of the Telemundo Network

(“Telemundo”) responded to SER-CA’s removal of one of the Songs from YouTube. The

representative claimed that use of the Song on the Telemundo program “Al Rojo Vivo”

was authorized by a representative of La Leyenda. On March 31, 2017, SER-CA received

a copy of the purported written authorization. The authorization, dated March 30, 2017,

and executed in San Antonio, Texas, was signed by Victor German Chavez Pérez

(“German”) of Counter-Defendant Midas Musical, Inc., who held himself to Telemundo

as capable of granting legal rights to use the Song in Telemundo’s programming. SER-CA

notified Telemundo that the authorization was, in fact, no authorization at all, and the

YouTube video featuring the Song was promptly removed.

      32.    Counter-Defendants falsely represent to others, as they do in their Complaint,




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that they are the exclusive owners and/or licensees of La Leyenda’s songs in the United

States and have also filed counter notifications under the DMCA that material or activity

(songs and video-grams) were removed or disabled by mistake or misidentification,

thereby frustrating Counter-Plaintiff’s contracts and diverting money that properly belongs

to Counter-Plaintiff. Counter-Defendants further intentionally create confusion in the

market—for both consumer-purchasers of the Songs and corporate entities seeking to use

the songs for commercial purposes—by claiming ownership and/or exercising control over

the Mark.

      33.    Decisive Court intervention is needed to annul the Counter-Defendant’s

illegal agreements and prevent the Counter-Defendants from destroying SER-CA’s

valuable contractual interests and its state common law right to the proceeds derived

therefrom. As a matter of last resort, Counter-Plaintiff seeks a declaration that Counter-

Plaintiff is the sole administrator of the Songs; an injunction to prevent Counter-

Defendants for continuing to exercise control over the Songs and the Mark; and recovery

of damages resulting from Counter-Defendants’ illegal claims of ownership of both the

Songs and the Mark.

                              III.   CAUSES OF ACTION

                                        COUNT 1
                                  Declaratory Judgment

      34.    Counter-Plaintiff alleges and incorporates by reference the allegations set

forth in paragraphs 1 through 33 as if fully set forth herein.


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      35.    Through its contractual relationships, SER-CA is the exclusive owner,

licensee, administrator and/or authorized representative for the administration of the Songs

and the Exclusive Rights in the United States. SER-CA has exercised these Exclusive

Rights through contracts with third-parties like La Leyenda, SOH, SOH Latino, and

internet distributors.

      36.    La Leyenda was prohibited from transferring any portion of the Exclusive

Rights pursuant to its contract with SERCA MEXICO, which the Counter-Defendants were

fully aware of. However, Counter-Defendants have represented to third-parties that they

are the exclusive owners of the Songs, or that they have the right to license the songs for

publication, performance, display, reproduction, digital transmission, or distribution. This

representation is in direct conflict with SER-CA’s Exclusive Rights.

      37.    By reason of the foregoing, an actual and justifiable controversy has arisen

and now exists between SER-CA and Counter-Defendants in that SER-CA contends and

the Counter-Defendants deny that the Counter-Defendants’ agreements for La Leyenda’s

services, copyrights, and trademark rights are void and unenforceable, including as a

violation of the Copyright Act. In fact, all of the Counter-Defendants’ agreements with the

Chavez Brothers, La Leyenda for La Leyenda’s services in the entertainment business are

void ab initio and unenforceable as they directly or indirectly are in violation of and

prohibited by, La Leyenda’s agreements with SERCA MEXICO and SER-CA’s Exclusive




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Rights, which forbid La Leyenda to wrongfully traffic in the rights previously given to

SERCA MEXICO and SER-CA.

      38.    A justiciable conflict exists between SER-CA and Counter-Defendants.

Specifically, a conflict exists as to whether SER-CA, as the owner, exclusive licensee,

administrator, and/or authorized representative for the administration of the Songs and the

Exclusive Rights, and the La Leyenda sound recording catalog or the Counter-Defendants

have the exclusive right to distribute them in the United States during the relevant time

period.

      39.    A declaration of this Court is warranted under the Declaratory Judgment Act,

28 U.S.C. §§ 2201 et seq., to establish the parties’ respective rights and obligations with

respect to their rights to La Leyenda’s Songs and professional services. This declaration

should establish that the Counter-Defendants’ purported agreements for La Leyenda’s

sound recordings and services are void and unenforceable as a matter of law and public

policy. The declaration should further establish that any agreement by the Counter-

Defendants is void, unenforceable and prohibited as a matter of law and public policy.

      40.    A judicial declaration is necessary and appropriate under 18 U.S.C. § 2201

that: (1) SER-CA owns and/or has the Exclusive Rights to the copyrights to the master

sound recordings of the Songs in the United States; (2) that the Counter-Defendants have

no copyright ownership or administration rights in the master sound recordings of the

Songs; (3) any copyright registrations by Counter-Defendants to SER-CA’s Songs are




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invalid; and (4) that any contract entered into by Counter-Defendants predicated on these

fabricated rights to the Songs are null and void.

      41.    SER-CA is entitled to an injunction, enjoining Counter-Defendants, their

officers, agents and employees, and all persons acting in concert with them, from entering

into or performing any agreement which directly or indirectly conflicts with SER-CA’s

interests with respect to La Leyenda’s sound recordings and the Exclusive Rights, including

any agreement.

                                    COUNT 2
     Tortious Interference with SER-CA’s Contracts and Prospective Economic
                                    Advantage

      42.    Counter-Plaintiff alleges and incorporates by reference the allegations set

forth in paragraphs 1 through 41 as if fully set forth herein.

      43.    Through SERCA MEXICO, Counter-Plaintiff had multiple exclusive

contracts and contractual rights with and/or pertaining to La Leyenda, including all of its

members, as well as SERCA MEXICO, SOH and SOH Latino for the distribution of the

Songs featuring La Leyenda. SER-CA has developed economic relationships including not

only SOH and other music distributors, but also radio and television stations, venues, and

booking agents, and others in the entertainment business. These contracts and business

relationships remain valid and subsisting as of the date of this action and during the time

of Counter-Defendants’ interference.




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      44.   Counter-Defendants knew, had reason to know, and/or had knowledge of

Counter-Plaintiff’s contracts with SERCA MEXICO, La Leyenda, SOH and SOH Latino,

internet distributors, and other third-parties in the music business, Counter-Plaintiff’s

interest in the contracts, Counter-Plaintiff’s rights to enter into the contracts, or had

knowledge of facts and circumstances that would lead a reasonable person to believe that

there were contracts and agreements in which SER-CA had an interest. However, based on

information and belief and the Plaintiffs’ Complaint, SER-CA is informed and believes

and based thereon alleges that to further their wrongful objectives, Counter-Defendants

portrayed SER-CA in a negative, adversarial light to La Leyenda and such third-parties.

Counter-Defendants also willfully, intentionally and/or reckless disregard for SER-CA’s

rights interfered with SER-CA’s contracts and agreements, including the Recording

Agreement and the SOH agreements including, but not limited to, the 2011 Agreement and

the 2015 Streaming Agreement, authorizing the distribution and streaming of the Songs,

including at least one of the Songs called “Cositas Malas” on a Telemundo program titled

“Al Rojo Vivo.” The Counter-Defendants also filed false counter- notifications under the

DMCA, and in violation of17 U.S.C. §512(f), in the furtherance of their wrongful actions.

      45.   By their wrongful conduct, the Counter-Defendants intended to hinder

performance or disrupt SER-CA’s relationships in order to divert SER-CA’s economic

interests in La Leyenda to the Counter-Defendants. The Counter-Defendants knew that, by

their conduct, disruption of SER-CA’s business relationships was certain or substantially




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certain to occur and, as intended, the Counter-Defendants’ conduct has disrupted SER-

CA’s relationships with such third-parties. Counter-Defendants’ conduct alleged herein

was intentional and/or reckless disregard for SER-CA’s Exclusive Rights and was engaged

in for the purpose of depriving SER-CA of property or legal rights or to otherwise cause

injury; was despicable conduct committed with conscious disregard for SER-CA’s rights;

and was carried out intentionally and with reckless disregard of Ser-Ca’s rights.

       46.    Counter-Defendants’ interference proximately caused injury and damages to

SER-CA, which resulted in damages, including a loss in digital streaming royalty income,

income from the required synchronization license to combine the music with video

programming, and SER-CA’s loss of control of the Songs in an amount to be adjudicated

at trial, plus prejudgment interest. Because the Counter-Defendants’ actions are intentional,

for the purpose of depriving Counter-Plaintiffs of property or legal rights or to otherwise

cause injury, committed in conscious disregard of Counter-Plaintiff’s rights and malice,

SER-CA is also entitled to recover exemplary or punitive damages in an amount according

to the proof at trial.

                                        COUNT 3
                                     Misappropriation

       47.    Counter-Plaintiff alleges and incorporates by reference the allegations set

forth in paragraphs 1 through 46 as if fully set forth herein.




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      48.    The acts of the Counter-Defendants complained of above constitute

misappropriation in violation of the laws of the State of Texas and proximately resulted in

damages to Counter-Plaintiff.

                                   COUNT 4
   Unfair Competition in Violation of Section 43(a) of the Lanham Act, 15 U.S.C.
                                     §1125(A)

      49.    Counter-Plaintiff alleges and incorporates by reference the allegations set

forth in paragraphs 1 through 48 as if fully set forth herein.

      50.    Counter-Defendants’ unauthorized use of the La Leyenda Mark, trade name,

and trade dress, falsely indicates to consumers that La Leyenda’s entertainment services

originate from, are approved by, are sponsored by, are licensed by, or are affiliated with

SER-CA or are otherwise with SER-CA’s entertainment services and sound recordings.

The Mark is entitled to strong protection under Section 43(a) of the Lanham Act because

the Mark, when used to identify entertainment services and sound recordings is “arbitrary”

to such services and because SER-CA has extensively promoted the Mark to the public.

      51.    The Counter-Defendants’ actions amount to unfair competition which is likely

to cause confusion, mistake, or to deceive the public into believing that the Counter-

Defendants’ goods and services originate from or are associated with SER-CA. The

Counter-Defendants are passing-off SER-CA’s Songs as their own. Counter-Defendants’

fraudulent and/or negligent representation to third-parties of its ownership of the Songs,

which are owned by Counter-Plaintiff, or otherwise its agency to administer or authorize




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their use, was intended to mislead the public and lead to confusion and mistake as to the

source, affiliation, or sponsorship of the Songs. Counter-Defendants’ wrongful actions in

entering into an unlawful agreement for the exclusive distribution of La Leyenda’s Songs

while SER-CA’s contracts were in full force and effect, authorizing the use of the Songs

owned by and administered by Counter-Plaintiff in the United States, and the Counter-

Defendants’ improper exercise of control over the Mark in commerce is likely to confuse

consumers, resulting in damage to the reputation of the Counter-Plaintiff as well as actual

damages in the amounts lost through the Counter-Defendants’ own sales of Counter-

Plaintiff’s goods.

      52.    The Counter-Defendants’ actions constitute trademark, trade name, and trade

dress infringement in violation of Section 43(a) of the Lanham Act, 15 U.S.C. §1125(a).

The Counter-Defendants are therefore liable for the remedies provided for in 15 U.S.C

§1114(2) and §§ 1116-1118, inclusive, including but not limited to, actual damages, the

disgorgement of all income, benefits, and profits. The Counter-Defendants’ continued and

unauthorized activities have been intentional and willful, constituting an exceptional case

under Section 35 of the Lanham Act, 15 U.S.C. §1117 and SER-CA is entitled to recover

three times the amount of: (1) the Counter-Defendants’ profits; and (2) SER-CA’s actual

damages, including pre-judgment interest. SER-CA is further entitled to recover its

attorney’s fees and costs incurred in this action.




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       53.    The Counter-Defendants have caused and will continue to cause Counter-

Plaintiff irreparable harm. Unless restrained and enjoined by this Court, Counter-

Defendants will persist in their conduct, thereby causing Counter-Plaintiff further

irreparable harm for which Counter-Plaintiff has no adequate remedy at law.

                                    COUNT 5
                           Common Law Unfair Competition

       54.    Counter-Plaintiff alleges and incorporates by reference the allegations set

forth in paragraphs 1 through 53 as if fully set forth herein.

       55.    The Counter-Defendants have unfairly competed with SER-CA by their

commercial conduct surrounding their use of a trademark, service mark, and/or trade name

that is confusingly similar, if not identical, with SER-CA’s trademark rights, thereby

violating the common law of the State of Texas. The Counter-Defendants’ use was

intended to mislead the public and lead to confusion and mistake and pass of services as

those of SER-CA. The Counter-Defendants’ continued unauthorized use of the Mark

constitutes trademark and trade name infringement in violation of the common law of

Texas. The Counter-Defendants are clearly using the Mark to sell music, the same type of

product sold by SER-CA, and Counter-Defendants are passing off the Songs as authorized

by SER-CA and unfairly benefitting from the many years of promotional work by SER-

CA on behalf of La Leyenda, all of which have caused damages to SER-CA in an amount

to be proved at trial.




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                                   COUNT 6
                        Common Law Trademark Infringement

      56.    Counter-Plaintiff alleges and incorporates by reference the allegations set

forth in paragraphs 1 through 55 as if fully set forth herein.

      57.    The Counter-Defendants for trademark infringement arising under the laws of

the State of Texas. The acts of the Counter-Defendants complained of herein, also

constitute infringement of SER-CA’s common law trademark rights and have caused and

will continue to cause damage to SER-CA in an amount to be proved at trial, as well as

irreparable injury to SER-CA.

      58.    The acts of the Counter-Defendants complained of herein by infringing the

trademark rights of SER-CA, have been committed intentionally, willfully, deliberately, in

reckless disregard for SER-CA’s rights, and/or with the malicious intent of injuring SER-

CA and damaged SER-CA.

                                        COUNT 7
                   Violation of the Digital Millennium Copyright Act

      59.    Counter-Plaintiff alleges and incorporates by reference the allegations set

forth in paragraphs 1 through 58 as if fully set forth herein.

      60.    The Counter-Defendants have knowingly materially misrepresented or caused

to be materially misrepresented under oath that material or activity was removed or

disabled by mistake or misidentification in violation of the Digital Millennium Copyright




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Act, 17 U.S.C. §512(f) and (g), resulting in actual damages to SER-CA, costs, and attorneys

fees in an amount to be proved at trial.

                                           COUNT 8
                                           Accounting

      61.    Counter-Plaintiff alleges and incorporates by reference the allegations set

forth in paragraphs 1 through 60 as if fully set forth herein.

      62.    Under state common law, SER-CA is also entitled to an order requiring the

Counter-Defendants, jointly and severally, to render an accounting to ascertain the amount

of such proceeds as it has wrongfully obtained from its agreements for La Leyenda’s sound

recordings and services. The Counter-Defendants’ conduct is contrary to honest practice

in commercial matters and violates Texas common law on unjust enrichment,

misappropriation, unfair competition, and interference with SER-CA’s business relations,

contracts, and prospective economic advantage. The Counter-Defendants are directly or

indirectly and/or through any corporation, entity, division, or devise passing off their goods

or services as those of SER-CA by virtue of a substantial similarity between the two.

      63.    SER-CA is informed and believes and, on that basis, alleges that Counter-

Defendants have engaged in additional undisclosed and as-yet-undiscovered transactions

and agreements regarding the valuable interests in La Leyenda’s sound recordings, Songs,

and services by which Counter-Defendants have been compensated.

      64.    SER-CA is entitled to an order requiring Counter-Defendants to account to

SER-CA with respect to all compensation or proceeds paid or payable to Counter-


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Defendants with respect to La Leyenda’s sound recordings, Songs, and services, and for an

order requiring Counter-Defendants to provide to SER-CA their complete, detailed books

and records of account concerning La Leyenda.

                                        COUNT 9
                                    Unjust Enrichment

      65.     Counter-Plaintiff alleges and incorporates by reference the allegations set

forth in paragraphs 1 through 64 as if fully set forth herein.

      66.     SER-CA is informed and believes and based thereon alleges that, as described

herein, the Counter-Defendants, in their dealings with third parties, members of the public,

and SER-CA, have engaged in unlawful and unfair conduct toward SER-CA’s rights under

state common law with respect to La Leyenda’s recordings and the Songs, including

deceptive and unfair practices to deceive SER-CA out of its rights in La Leyenda’s sound

recordings.

      67.     This count is asserted against the Counter-Defendants for the disgorgement

and restitution of all income, gains, compensation, profits, royalties, and advantages

obtained, received, or to be received by the Counter-Defendants arising from their

wrongful conduct and exploitation of SER-CA’s rights to La Leyenda’s sound recordings

and the Songs achieved through their unlawful agreements with La Leyenda, Counter-

Defendants’ owners, and each other.

      68.     As a direct and proximate result of the Counter-Defendants’ conduct, acts,

and omissions as alleged herein, SER-CA has been damaged, and the Counter-Defendants


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have been and will continue to be unjustly enriched, in an amount that will be assessed at

trial for which restitution and/or disgorgement is appropriate. Such should include a

declaration by this Court that the Counter-Defendants’ agreements with their owners and

La Leyenda are null and void and that the Counter-Defendants are constructive trustees for

the benefit of SER-CA and an order that the Counter-Defendants disgorge all income from

their wrongful business dealings with La Leyenda, including all funds by which the

Counter-Defendants have been unjustly enriched, and convey to SER-CA any and all

proceeds from the compensation due to SER-CA, in an amount to be adjudicated at trial,

plus prejudgment interest.

      69.   The Counter-Defendants’ unauthorized use and distribution of La Leyenda’s

sound recordings, songs, and personal services has caused and will continue to cause

Counter-Plaintiff irreparable harm. The Counter-Defendants’ acts, and omissions have

proximately caused and will continue to cause SER-CA substantial injury and damage

including, without limitation, diminution in the value of SER-CA’s interests in the Songs.

The harm that the Counter-Defendants’ conduct will cause to SER-CA is both imminent

and irreparable, and the amount of damage sustained by SER-CA will be difficult to

ascertain if such wrongful conduct is allowed to continue unabated and without restraint.

Counter-Defendants’ wrongful conduct.

      70.   SER-CA has no adequate remedy at law with respect to the Counter-

Defendants’ ongoing unlawful conduct. Unless restrained and enjoined by this Court,




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Counter-Defendants will persist in its conduct, thereby causing Counter-Plaintiff further

irreparable harm for which Counter-Plaintiff has no adequate remedy at law.

                                       COUNT 10
                                       DAMAGES
      71.    Counter-Plaintiff alleges and incorporates by reference the allegations set

forth in paragraphs 1 through 70 as if fully set forth herein.

      72.    As a direct and proximate result of Counter-Defendants’ conduct, acts, and

omissions alleged herein, Counter-Plaintiff is entitled to damages, restitution of the

income, gains, compensation, profits, and advantages obtained, received, or to be received

by Counter-Defendants arising from their exploitation of any rights in the Songs, Sound

Recording Rights and related rights, and services of La Leyenda achieved through their

wrongful actions. Counter-Plaintiff is further entitled to an order requiring Counter-

Defendants, jointly and severally, to render an accounting to ascertain the amount of such

proceeds.

      73.    As a direct and proximate result of Counter-Defendants’ wrongful conduct,

acts, and omissions alleged herein, Counter-Plaintiff has been damaged, and Counter-

Defendants have been and will continue to be unjustly enriched, in an amount that shall be

assessed at trial for which restitution and/or restitutionary disgorgement is appropriate.

Such should include a declaration by this Court that Counter-Defendants are jointly and

severally the constructive trustee(s) for the benefit of Counter-Plaintiff and an order that




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Counter-Defendants convey to Counter-Plaintiff its respective share of any and all

proceeds from the Songs and professional services of La Leyenda.

      74.    Counter-Defendants’ wrongful conduct, acts, and omissions have proximately

caused and will continue to cause Counter-Plaintiff substantial injury and damage

including, without limitation, diminution in the value of Counter-Plaintiff’s interests in the

Songs, Sound Recording Rights and related rights, a loss in digital streaming royalty

income, income from the required synchronization license to combine the music with video

programming, SER-CA’s loss of control of the Songs, as well as all applicable statutory

damages. Counter-Plaintiff is also entitled to the disgorgement of all income, benefits, and

profits received by the Counter-Defendants as a result of its wrongful actions.

      75.    Because the Counter-Defendants’ actions are intentional, for the purpose of

depriving Counter-Plaintiff of property or legal rights or to otherwise cause injury,

committed in conscious disregard of Counter-Plaintiff’s rights and malice, SER-CA is also

entitled to recover exemplary or punitive damages in an amount according to the proof at

trial in order to deter the Counter=Defendants from similar wrongdoing in the future.

      76.    The harm that Counter-Defendants’ willful conduct will cause to Counter-

Plaintiff is both imminent and irreparable, and the amount of damage sustained by Counter-

Plaintiff will be difficult to ascertain if such wrongful conduct is allowed to continue

unabated and without restraint.




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                                    COUNT 11
                Application for Temporary and Permanent Injunction

      77.    Counter-Plaintiff alleges and incorporates by reference the allegations set

forth in paragraphs 1 through 76 as if fully set forth herein.

      78.    The Counter-Defendants’ conduct as alleged hereinabove will continue unless

enjoined by the Court. SER-CA has no adequate remedy at law for such continuing

wrongful conduct and is suffering irreparable damages as a result of the aforesaid acts of

the Counter-Defendants. Counter-Plaintiff seeks injunctive relief from the Counter-

Defendants’ conduct pursuant to the Lanham Act, 15 U.S.C. §1051-1141 and the laws of

the State of Texas. Clear equity demands the issuance of injunctive relief. The Counter-

Plaintiff has no adequate remedy at law for the injuries hereinabove described. The injuries

and losses are continuing. The property and rights involved are unique and irreplaceable,

so that it will be impossible to accurately measure, in monetary terms, the damages caused

by the Counter-Defendants’ conduct.

      79.    It is essential that this Court immediately and temporarily restrain the

Counter-Defendants from continuing with the conduct described in this Complaint. It is

also essential that the Court act immediately, because the Counter-Defendants, if left

unrestrained, will continue to:

      (a)    wrongfully exercise dominion and control over the Songs that it does not own

             by publishing, displaying, performing, reproducing, transmitting, distributing,




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             or allowing others to publish, display, perform, reproduce, transmit, or

             distribute the Songs;

      (b)    accept or receive payments for the Counter-Defendants’ exploitation or its

             wrongful authorization of third-party exploitation of the Songs it does not own

             through physical, digital, streaming, and synchronization of the Songs;

      (c)    wrongfully exercise dominion and control over the trademark “LA

             LEYENDA” in connection with the Songs in commerce;

      (d)    engage in further interference with SER-CA’s business relationships,

             contracts, and prospective economic relationships herein alleged; and

      (e)    cause a miscarriage of justice.

      80.    In order to preserve the status quo, and the property rights of SER-CA during

the pendency of this action, Counter-Defendants should be cited to appear and show cause

why they should not be temporarily enjoined during the pendency of this action from

wrongfully authorizing the exploitation of the Songs; wrongfully identifying itself as the

owner of the Songs; accepting payment from third-parties for exploitation of the Songs;

contracting with third-parties for the further exploitation or administration of the Songs in

violation of SER-CA’s rights; wrongfully exercising control over the Mark in commerce;

and causing a miscarriage of justice.




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                                 IV.    JURY DEMAND

      81.    Counter-Plaintiff asserts its right to a trial by jury, under Texas Constitution

Article 1, Section 15, and tenders the required fee with this Petition.

                           V.    CONDITIONS PRECEDENT

      82.    All conditions precedent to Counter-Plaintiff’s right to recover in this suit

have been performed or have occurred.

                     VI.    PRAYER AND RELIEF REQUESTED

      WHEREFORE, PREMISES CONSIDERED, Defendant/Counter-Plaintiff SER-CA

DISCOS, INC. requests that Plaintiffs/Counter-Defendants TIERRA CALIENTE MUSIC

GROUP, S.A. DE C.V. d/b/a Remex Music’s and Midas Musical, Inc.’s claims against

SER-CA be dismissed and that they take nothing by their claims; that on final trial

judgment be entered in favor of SER-CA and against Counter-Defendants and Third-Party

Defendant JOHN DOES 1-10, as follows:

      (a)    Judgment against Counter-Defendants and Third-Party Defendant for the

             relief hereinabove requested;

      (b)    A declaration that Counter-Plaintiff is the exclusive owner of the Songs;

      (c)    A temporary injunction and permanent injunction prohibiting Counter-

             Defendants and Third-Party Defendant from exercising dominion and control

             over the Songs;




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(d)   A declaration that the contracts entered into by Counter-Defendants and

      Third-party Defendant on the basis that Counter-Defendants are the exclusive

      owner of the Songs are null and void;

(e)   Reasonable attorney’s fees;

(f)   Pre-judgment and post-judgment interest at the highest legal rate;

(g)   Costs of suit; and

(h)   Such other and further relief to which Counter-Plaintiff may be justly entitled.




                                Respectfully submitted,
                                By: /s/ Yocel Alonso
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                                ATTORNEY FOR DEFENDANT/COUNTER-
                                PLAINTIFF SER-CA DISCOS, INC.




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                            CERTIFICATE OF SERVICE

      I hereby certify that a copy of this response was served in accordance with the

Federal Rules of Civil Procedure and by electronic transmission to all registered ECF users

appearing in the case on January 8, 2021 as follows:


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and MIDAS MUSICAL, INC.


                                              /s/Yocel Alonso          ______________
                                             Yocel Alonso




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